Case: 1:22-cv-04127 Document #: 1-12 Filed: 08/05/22 Page 1 of 5 PageID #:96




                      EXHIBIT L
                    Case: 1:22-cv-04127 Document #: 1-12 Filed: 08/05/22 Page 2 of 5 PageID #:97
                                                                                TRACKING# 2108A1023
303-333-3800
888-227-2476                     fax: 303-333-3802        LOAD CONFIRMATION
MC#: 594223 DOT#: 1606904                                                                                  Report Date:   02:43 pm 08/05/2021
Carrier:      KORDUN EXPRESS                               fax:    NONE                    Total Pieces       1           Total Weight        2500
Contact:      ANDREW                                    Rate       $900.00                 See page 2 for individual weights and dimensions
From:         GAVIN LINN                         CAP Station       DEN



 Ready at:                    Pickup at:         PO:                               Deliver to:       PO:                         Delivery By
  9:00 am                      CAID AUTOMATION                                      CAID AUTOMATION- ANAHEIM                      6:00 am
 08/06/21                      2001 EAST GANLEY RD                                  CONVENTION CENT                              08/07/21
                                                                                    850 W ST
 Closes at:                    TUCSON, AZ 85706 US                                   MD&M WEST / WESTPACK / ATX WEST
                               Contact:                                             / D&M W
                               Phone:                                               ANAHEIM, CA 92802 US
                                                                                    Contact: FREEMAN

 Required:


                                             MUST CALL WITH VERBAL POD IMMEDIATELY
Dispatch             AIR-RIDE DRY VAN REQUIRED, DELIVER SATURDAY @06:00, DETENTION $70 PER
Notes                HOUR



 Please inform us with your drivers informatio

        Name:                                          Cell Phone:                               Pager:

 Requested check-in times with location:




 Delivery Commitment Time:                                        Deliver To:   CAID AUTOMATION- ANAHEIM
                       06:00 am 08/07/21                                        CONVENTION CENT
  Needed By:
                                                                                850 W ST

                                                                                                                                For Accounting
                                                     Accounts Payable / CAP Logistics, P.O. Box 5608, Denver, CO 80217          Call 303-333-1915
            REMIT INVOICES TO: DENACC@NUSSPRO.COM OR UPLOAD VIA OUR PORTAL HTTPS://CARRIER.CAPLOGISTICS.COM
        Case: 1:22-cv-04127 Document #: 1-12 Filed: 08/05/22 Page 3 of 5 PageID #:98
                                                                       SENSITIVE SECURITY INFORMATION

Initial Release: January 8, 2007
Date Change Posted: July 1, 2010
Date Effective:  September 18, 2019                                                            Indirect Air carrier Standard Security Program
ATTACHMENT 1: AVIATION SECURITY KNOWN SHIPPER VERIFICATION (ASKSV) FORM

Print clearly in all fields except for signatures. The form must be completed in its entirety. Once
completed, this form is not considered Sensitive Security Information.
 Section 1. Facility and Contact Data                                                                Account#:          22788                 Tracking#:        2108A1023


 Date of physical visit:          /        /                            Name of business visited:              CAID INDUSTRIES



 Also doing business as (trade name                                                                            Business type:



 Number of years in business                                                 Employers Identifying Number:



 Name of individual contacted                                                                         Title:
 Section 2. Address Information


                            2275 EAST GANLEY RD
 Physical address:                                                                  City: TUCSON                                             State: AZ         Zip: 85706

                                           2275 EAST GANLEY RD
 Mailing address (if different                                                      City: TUCSON                                             State: AZ         Zip: 85706
 Section 3. Shipper's Contact Information



 Physical location phone number                 520-294-3126                        Principal contact phone number



 Emergency phone number                                                             Fax number:        520-889 0420



 Email address:                                                                     Web address:        http://www.caid.com/
 Section 4. Verifiers's Information



 Name & title of employee or authorized representative verifying above informa

 Name of aircraft operator/foreign air                                                                          DENOPS@CAPLogistics.com
carrier/or                CAP Air Freight Inc                        Phone number:        800-227-2471          Email address:
 I certify the above information is true and correct and the onsite visit and verification was conducted in person as required by the
 TSA standard security program and applicable security directives. This certification is (i) made with the understanding that any
 intentional falsification may be subject to both civil and criminal penalties under 49 CFR 1540.103 and 18 U.S.C. 1001 and (ii)
 subject to record keeping requirements approved by TSA.



 Signature of Verifier (driver):                                                                            Print Name:



 Signature of Shipper (customer)                                                                            Print Name:
 Pursuant to TSA IACSSP Section 2.2 H2 shipper authorizes consent to screen all cargo tendered by the shipper for air carriage
 TSA FORM 419H
“49 USC 114 authorizes the collection of this information. The information you provide will be used to qualify you or verify your status as a possible
“known shipper.” Providing this information is voluntary, however, failure to provide the information will prevent you from qualifying as a “known shipper.”
This information will be disclosed to TSA personnel and contractors or other agents including IACs in the maintenance and operation of the known shipper
program. TSA may share the information with airport operators, foreign air carriers, IACs, law enforcement agencies, and others in accordance with the
Privacy Act, 5 USC Section 552a. For additional details, see the system of records notice for Transportation Security Threat Assessment System

                                                                                                                                                     IACSSP Change 5
                                                                                                                                           Effective Date July 31, 2010
                                                                       SENSITIVE SECURITY INFORMATION
                     WARNING: THIS RECORD CONTAINS SENSITIVE SECURITY INFORMATION THAT IS CONTROLLED UNDER 49 CFR PARTS 15 AND 1520.
                      NO PART OF THIS RECORD MAY BE DISCLOSED TO PERSONS WITHOUT A “NEED TO KNOW”, AS DEFINED IN 49 CFR PARTS 15 AND
                     1520, EXCEPT WITH THE WRITTEN PERMISSION OF THE ADMINISTRATOR OF THE TRANSPORTATION SECURITY ADMINISTRATION OR
                    Case: 1:22-cv-04127 Document #: 1-12 Filed: 08/05/22 Page 4 of 5 PageID #:99
                                                                                TRACKING# 2108A1023
303-333-3800
888-227-2476                     fax: 303-333-3802        LOAD CONFIRMATION                                REVISED
MC#: 594223 DOT#: 1606904                                                                                  Report Date:   09:48 am 08/09/2021
Carrier:      KORDUN EXPRESS                               fax:    NONE                    Total Pieces       1           Total Weight        2500
Contact:      ANDREW                                    Rate       $1,975.00               See page 2 for individual weights and dimensions
From:         GAVIN LINN                         CAP Station       DEN



 Ready at:                    Pickup at:         PO:                               Deliver to:       PO:                         Delivery By
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                               Phone:                                               ANAHEIM, CA 92802 US
                                                                                    Contact: FREEMAN

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Dispatch             AIR-RIDE DRY VAN REQUIRED, DELIVER SATURDAY @06:00, DETENTION $70 PER
Notes                HOUR



 Please inform us with your drivers informatio

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  Needed By:
                                                                                850 W ST

                                                                                                                                For Accounting
                                                     Accounts Payable / CAP Logistics, P.O. Box 5608, Denver, CO 80217          Call 303-333-1915
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       Case: 1:22-cv-04127 Document #: 1-12 Filed: 08/05/22 Page 5 of 5 PageID #:100
                                                                       SENSITIVE SECURITY INFORMATION

Initial Release: January 8, 2007
Date Change Posted: July 1, 2010
Date Effective:  September 18, 2019                                                            Indirect Air carrier Standard Security Program
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 Date of physical visit:          /        /                            Name of business visited:              CAID INDUSTRIES



 Also doing business as (trade name                                                                            Business type:



 Number of years in business                                                 Employers Identifying Number:



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                            2275 EAST GANLEY RD
 Physical address:                                                                  City: TUCSON                                             State: AZ         Zip: 85706

                                           2275 EAST GANLEY RD
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 Section 3. Shipper's Contact Information



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 Name & title of employee or authorized representative verifying above informa

 Name of aircraft operator/foreign air                                                                          DENOPS@CAPLogistics.com
carrier/or                CAP Air Freight Inc                        Phone number:        800-227-2471          Email address:
 I certify the above information is true and correct and the onsite visit and verification was conducted in person as required by the
 TSA standard security program and applicable security directives. This certification is (i) made with the understanding that any
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Privacy Act, 5 USC Section 552a. For additional details, see the system of records notice for Transportation Security Threat Assessment System

                                                                                                                                                     IACSSP Change 5
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